                           IN THE UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION-DETROIT

In Re:
                                                            Case No. 24-41956-mar
 BRANDON HEITMANN,                                          Chapter 13
                                                            Hon. Mark A. Randon - Detroit
         Debtor
                                                        /

                     MOTION FOR RELIEF FROM THE AUTOMATIC STAY
              AND TO WAIVE FOURTEEN-DAY STAY PURSUANT TO RULE 4001(A)(3)
               NOW COMES Movant, Fifth Third Bank, N.A., by and through its Attorneys, Hladik,
         Onorato & Federman, LLP, hereby states the following as its Motion for Relief from Automatic
         Stay:
         1.       That Debtor, Brandon Heitmann, filed a voluntary Chapter 13 Bankruptcy on
                  February 29, 2024.

         2.       That pursuant to the provisions of 11 U.S.C. § 362(d)(1), upon request of a party in interest,
                  the court shall grant relief from the cause including lack of adequate protection of an
                  interest in such collateral.

         3.       That pursuant to Local Bankruptcy Court Rule, 9014-1(b)(4) a copy of the proposed
                  Order Granting Relief from the Automatic Stay is attached.

         4.       That Movant, Fifth Third Bank, N.A., is the holder of a Motor Vehicle Retail Installment
                  Contract Purchase Agreement for a 2017 Audi A7, VIN# WUAWABFCXHN903083. (A
                  copy of Motor Vehicle Retail Installment Contract Purchase Agreement, and Title
                  Verification are attached as Exhibit A and Exhibit B).

         5.       There remains due and owing on the note referenced in paragraph four hereof, the sum of
                  $74,801.39 plus interest which does not reflect attorney fees and costs associated with the
                  filing of this motion for relief.

         6.       That pursuant to the books and records of the Creditor, the Creditor has not been adequately
                  protected by periodic payments as required by 11 U.S.C. § 361 since the filing of the
                  petition as there are arrearages of $11,714.23 as of the date of the filing of this Motion.

         7.       That upon information and belief, pursuant to J.D. Power, the value of the collateral is
                  approximately $48,650.00 and Brandon Heitmann may have no equity in the
                  above-referenced collateral and that the above-referenced collateral may be of
                  inconsequential value to the estate.

         8.       That upon information and belief, no other party has an interest in the above referenced
                  collateral.




     24-41956-mar          Doc 55      Filed 06/14/24       Entered 06/14/24 14:58:32       Page 1 of 2
       9.     That pursuant to Debtor’s Chapter 13 Plan, Debtor proposes to surrender the above
              referenced vehicle to the Creditor, Fifth Third Bank, N.A.

       10.    Pursuant to L.B.R. 9014-1(h), concurrence of relief was sought on June 12, 2024, and
              Debtor’s Attorney could not concur to relief that was requested.

       11.    That Movant is entitled to relief from stay to recover possession of the collateral and
              liquidate its security interest.

               WHEREFORE, Movant, Fifth Third Bank, N.A. prays this honorable Court, Order that the
       Automatic Stay be lifted so as to permit Movant to proceed to enforce its security interest in the
       collateral.

                                                   Respectfully submitted,
Dated: June 14, 2024
                                                    /s/ James M. McArdle
                                                    James M. McArdle (P82443)
                                                    Hladik, Onorato & Federman, LLP
                                                    Attorney for Fifth Third Bank, N.A.
                                                    3290 West Big Beaver Road, Suite 117
                                                    Troy, MI 48084
                                                    Phone (248) 362-2600
                                                    Email: bankruptcy@hoflawgroup.com




     24-41956-mar       Doc 55    Filed 06/14/24     Entered 06/14/24 14:58:32        Page 2 of 2
